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Criminal Case Cover Sheet                                                                                                               U.S. District Court
                                                      FILED: REDAaED


Place of Offense:                     ^ Under Seal                                                          Judge Assigned:                 ChnH
City:                                 Superseding Indictment:                                               Criminal No.             1;17cr


County:                               Same Defendant:                                                       New Defendant:


                                      Magistrate Judge Case No.                                             Arraignment Date:

                                      Search Warrant Case No.                                               R. 20/R.40From:

Defendant Information:


Defendant Name:       Abdirizak Hagi RagheWehelie              Alias(es):                                   •   Juvenile FBI No.

Address:               St. Burke, VA 22015


Employment:

Birth Date: |XX/XX/1952         SSN: XX-XX-2157             Sex:        Male             Race: Black                   Nationality:     US Citizen


Place of Birth:                     Height:          Weight:                   Hair:              Eyes:                Scars/Tattoos:


[]] Interpreter Language/Dialect: English, Somali                                      Auto Description:

Location/Status:


Arrest Date:                           •      Alreadyin Federal Custodyas of:                                            in:


•    Already in State Custody          •      On Pretrial Release                •     NotInCustody

^ ArrestWarrant Requested              •      Fugitive                           •     Summons Requested

•    ArrestWarrant Pending             •      Detention Sought                   •     Bond
Defense Counsel Information;


Name:                                                               •    Court Appointed            CounselConflicts:

Address:                                                            •    Retained

Phone:                                                              •    Public Defender                                 •     Federal PublicConflictedOut
U.S. Attorney Information:

AUSA(s): Danya E.Atiyeh &James P. Glllis                                         Phone: 703-299-3824                     Bar No.

Complainant Agency - Address & Phone No. or Person &Title:

 FBI Belinda Lee

U.S.C. Citations;       Code/Section                     Offense Charged                                  Countfs)             CaDital/Felony/Misd./Petty

    Setl:           18U.S.C§1001               Making False Statements                        1                                    Felony

    Set 2:          18U.S.C.§1519              Obstruction ofa Federal Investigate            2                                    Felony

    Date;           12/6/2017                 AUSA Signature:
                                                                                                                               1
